

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. PD-0427-12, PD-0428-12 &amp; PD-0429-12






ERIC REED MARASCIO,  Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIFTH COURT OF APPEALS


COLLIN COUNTY





		Per curiam.  Keasler, and Hervey, J.J., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure
9.4(i)(2)(D)  because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.


Filed: January 9, 2013

Do Not Publish.



